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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 21-20005-CR-GAYLES

  UNITED STATES OF AMERICA

  v.

  ALBERICO AHIAS CRESPO,
  JORGE DIAZ GUTIERREZ,
  YANDRE TRUJILLO HERNANDEZ,
  and
  ANAIS LORENZO,
                  Defendants.
                                                  /

                 RESPONSE IN SUPPORT OF DEFENDANT LORENZO’S
                         MOTION TO CONTINUE TRIAL

         COMES NOW the United States of America, by and through the undersigned Assistant

  United States Attorney, and hereby files this Response in Support of Defendant Lorenzo’s

  Motion to Continue Trial (DE 116). In support, the Government submits the following:

         1.     On or about January 5, 2021, a federal grand jury sitting in Miami, FL, returned a

                multi-count indictment, in the above-captioned case number, charging the

                defendants with oxycodone trafficking and/or public corruption offenses, in

                violation of 21 U.S.C. §§ 846 and 841 and 18 U.S.C. §§ 1512(b)(3), 1512(k) and

                1512(c)(2) (DE 46).

         2.     Defendants Crespo, Diaz, and Trujillo all remain on bond. During March 2021,

                Defendant Lorenzo violated the terms of her bond and absconded from court-

                ordered drug treatment. After being on the run for approximately 11 months, she

                was recently arrested pursuant to state narcotics violations and is now in pre-trial

                detention at FDC (DE 111-115).


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          3.      As noted in defendant Lorenzo’s motion, the discovery in this case is voluminous

                  and totals approximately 4TB worth of materials, including Title III evidence and

                  investigative materials relating to two (2) prior, related cases: 18-20352-CR-

                  LENARD and 19-20055-CR-ALTMAN.

          4.      Trial is currently scheduled begin on April 11, 2022 (DE 100).



          As officers of the court, AUSAs have a duty to help protect the integrity of judicial

  proceedings and minimize possible, foreseeable appellate and post-trial collateral litigation

  issues. Given large volume of volume of discovery and Defendant Lorenzo’s recent arrest and

  return to federal custody, a significant trial continuance is wholly necessary in order to allow

  Defendant Lorenzo and her counsel adequately prepare for trial. Moreover, “[i]n this circuit, the

  rule about joint trials is that ‘defendants who are indicted together are usually tried together.’”

  United States v. Lopez, 649 F.3d 1222, 1234 (11th Cir. 2011) (quoting United States v. Browne,

  505 F.3d 1229, 1268 (11th Cir. 2007)); see also United States v. Beale, 921 F.2d 1412, 1428

  (11th Cir. 1991) (“The general rule is that defendants charged with a common conspiracy should

  be tried together.”).

          Defendant Lorenzo requests “at least ninety (90) additional days” (DE 116 at 2), which

  would place the new trial date in and around June 20, 2022. However, Government trial counsel

  has a lengthy pre-paid family vacation and will not return to the District until mid-late July 2022.

  Accordingly, the Government respectfully requests that the Court, if possible, continue trial to at

  least August 2022.

          Last, the Government also respectfully requests, that the Court specifically find that: 1)

  the period of delay resulting from the granting of this continuance, to and including the date the

  trial commences, is excludable time in accordance with the provisions of the Speedy Trial Act,



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  18 U.S.C. § 3161, et seq.; and 2) the ends of justice are served by granting the continuance and

  outweigh the best interest of the public and the defendants with regard to a speedy trial pursuant

  to 18 U.S.C. § 3161 because the failure to grant the continuance will prevent each of the

  defendants from receiving an effective defense.


                                               Respectfully submitted,

                                               JUAN ANTONIO GONZALEZ
                                               UNITED STATES ATTORNEY

                                       BY:     s/ Sean T. McLaughlin
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 22, 2022, they electronically filed the foregoing

  document with the Clerk of the Court and counsel of record using CM/ECF.


                                               /s Sean T. McLaughlin
                                               SEAN T. McLAUGHLIN
                                               Assistant United States Attorney




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